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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                                     CASE NO.: 20-19203-BKC-RAM
                                                                   PROCEEDING UNDER CHAPTER 13

INRE:

RAUL ESPINOSA

DEBTOR

                      NOTICE OF CONTINUED CONFIRMATION HEARING
                        AND TRUSTEE'S OBJECTION TO EXEMPTIONS

    YOU ARE HEREBY NOTIFIED that the Confirmation Hearing and the Trustee's Objection to
Exemptions has been continued to January lb 2021 at 01:35 pm by TELEPHONE through
CourtSolutions LLC. To participate through CourtSolutions, you must make a reservation in advance no
later than 3:00 p.m., one business day before the date of the hearing. Reservations should be arranged
online at https://www.court-solutions.com If a party is unable to register online, a reservation may also be
made by telephone at (917)746-7476.


    I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Continued Confirmation
Hearing and the Trustee's Objection to Exemptions was mailed to those parties listed below on this 14th day
of December, 2020.



                                                            Isl Nancy K. Neidich
                                                            NANCY K. NEIDICH, ESQUIRE
                                                            STANDING CHAPTER 13 TRUSTEE
                                                            P.O. BOX 279806
                                                            MIRAMAR, FL 33027-9806
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             NOTICE OF CONTINUED CONFIRMATION HEARING AND TRUSTEE'S OBJECTION TO EXEMPTIONS
                                                                   CASE NO.: 20-19203-BKC-RAM

                                      SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
RAUL ESPINOSA
1535 W 3RD AVENUE
HIALEAH, FL 33010-3009

ATTORNEY FOR DEBTOR
ROBERT SANCHEZ, ESQUIRE
355 W 49 STREET
HIALEAH, FL 33012

ROBERT SANCHEZ, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF
THIS NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON
RECEIPT THEREOF.
